              IN THE COURT OF CRIMINAL APPEALS
                          OF TEXAS
                                         NO. WR-85,904-01


                 EX PARTE MASHAUN LONELL HIRSCHLER, Applicant


               ON APPLICATION FOR A WRIT OF HABEAS CORPUS
             CAUSE NO. 13-0615-K368 A IN THE 368TH DISTRICT COURT
                          FROM WILLIAMSON COUNTY


        Per curiam.

                                            OPINION

        Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte

Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Pursuant to a plea bargain, Applicant was

convicted of the lesser included offense of robbery and sentenced to five years’ imprisonment. He

did not appeal his conviction.

        Applicant contends that his plea was involuntary because the State did not disclose that the

alleged victim in the case was shown a photographic line-up and could not identify Applicant in that

line-up. The parties have entered agreed findings of fact and conclusions of law, and the trial court
                                                                                                       2

has determined that Applicant’s plea was involuntary because he was not informed the victim in the

case could not identify him in a photographic line-up prior to his plea. The trial court also found that

the Sheriff’s Office stated that the photo line-up was never documented in a report and was not

turned over to the District Attorney’s Office; the Sheriff’s Office reported that the District Attorney’s

Office never received, nor can the Sheriff’s Office locate, any of the physical evidence, written

statements, or a recording of an in-custody interview with Applicant; the State did not disclose

evidence favorable and material to Applicant; and, Applicant would not have pleaded guilty had he

known that the alleged victim could not identify him in a photographic line-up. Applicant is entitled

to relief. Brady v. Maryland, 373 U.S. 83 (1963); Ex parte Kimes, 872 S.W.2d 700, 702-703 (Tex.

Crim. App. 1993).

        Relief is granted. The judgment in Cause No. 13-0615-K368 in the 368th District Court of

Williamson County is set aside, and Applicant is remanded to the custody of the Sheriff of

Williamson County to answer the charges as set out in the indictment. The trial court shall issue any

necessary bench warrant within 10 days after the mandate of this Court issues.

        Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional

Institutions Division and Pardons and Paroles Division.



Delivered: November 16, 2016
Do not publish
